               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v.                                               )      Criminal No. 3:09-00099
                                                 )      Judge Trauger
                                                 )
[11] ANDRE TERRELL CARTER                        )

                                        ORDER

       A hearing was held on September 8, 2014 on the Petition to Revoke Supervision (Docket

No. 815). By agreement, it is hereby ORDERED that this case is RESET for further hearing on

Monday, March 9, 2015, at 10:30 a.m.

       It is so ORDERED.

       ENTER this 15th day of September 2014.


                                                 ________________________________
                                                       ALETA A. TRAUGER
                                                         U.S. District Judge




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